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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

    DONALD J. TRUMP,

            Plaintiff,

    v.                                                     Case No. 2:22-cv-14102-DMM

    HILLARY R. CLINTON, et al.,

            Defendants.


                      MOTION TO APPEAR PRO HAC VICE,
                  CONSENT TO DESIGNATION, AND REQUEST TO
            ELECTRONICALLY RECEIVE NOTICES OF ELECTRONIC FILING

           In accordance with Local Rules 4(b) of the Rules Governing the Admission, Practice, Peer
   Review, and Discipline of Attorneys of the United States District Court for the Southern District of
   Florida, the undersigned respectfully moves for the admission pro hac vice of Jason C. Greaves of the
   law firm of Binnall Law Group, located at 717 King Street, Suite 200, Alexandria, Virginia 22314,
   Phone (703) 888-1943, for purposes of appearance as co-counsel on behalf of President Donald J.
   Trump, Alina Habba, Michael T. Madaio, Habba, Madaio, & Associates, Peter Ticktin, Jamie Alan
   Sasson, and The Ticktin Law Group, in the above-styled case only, and pursuant to Rule 2B of the
   CM/ECF Administrative Procedures, to permit Jason C. Greaves to receive electronic filings in this
   case, and in support thereof states as follows:
           1.      Jason C. Greaves is not admitted to practice in the Southern District of Florida and is
   a member in good standing of the D.C. Bar and the U.S. District Court for the District of Columbia.
           2.      Movant, Jared J. Roberts, Esquire, of the law firm of Binnall Law Group, located at
   717 King Street, Suite 200, Alexandria, Virginia 22314, Phone (703) 888-1943, is a member in good
   standing of The Florida Bar and the United States District Court for the Southern District of Florida
   and is authorized to file through the Court’s electronic filing system. Movant consents to be
   designated as a member of the Bar of this Court with whom the Court and opposing counsel may
   readily communicate regarding the conduct of the case, upon whom filings shall be served, who shall
   be required to electronically file and serve all documents and things that may be filed and served
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   electronically, and who shall be responsible for filing and serving documents in compliance with the
   CM/ECF Administrative Procedures. See Section 2B of the CM/ECF Administrative Procedures.
           3.     In accordance with the local rules of this Court, Jason C. Greaves has made payment
   of this Court’s $200 admission fee. A certification in accordance with Rule 4(b) is attached hereto.
           4.     Jason C. Greaves, by and through designated counsel and pursuant to Section 2B
   CM/ECF Administrative Procedures, hereby requests the Court to provide Notice of Electronic
   Filings to Jason C. Greaves at email address: jason@binnall.com.
           WHEREFORE, Jared J. Roberts, moves this Court to enter an Order Jason C. Greaves, to
   appear before this Court on behalf of President Donald J. Trump, Alina Habba, Michael T. Madaio,
   Habba, Madaio, & Associates, Peter Ticktin, Jamie Alan Sasson, and The Ticktin Law Group, for all
   purposes relating to the proceedings in the above-styled matter and directing the Clerk to provide
   notice of electronic filings to Jason C. Greaves.


   Date: September 6, 2023                Respectfully submitted,


                                          /s/ Jared J. Roberts
                                          Jared J. Roberts
                                          FL Bar #1036550
                                          jared@binnall.com
                                          BINNALL LAW GROUP, PLLC
                                          717 King Street, Suite 200
                                          Alexandria, Virginia 22314
                                          Tel: (703) 888-1943
                                          Fax: (703) 888-1930

                                          Attorney for President Donald J. Trump, Alina Habba, Michael T.
                                          Madaio, Habba, Madaio, & Associates,
                                          Peter Ticktin, Jamie Alan Sasson, and The Ticktin Law Group




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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

   DONALD J. TRUMP,

           Plaintiff,

   v.                                                      Case No. 2:22-cv-14102-DMM

   HILLARY R. CLINTON, et al.,

           Defendants.


                            CERTIFICATION OF JASON C. GREAVES


          Jason C. Greaves, Esquire, pursuant to Rule 4(b)(1) of the Rules Governing the Admission,
  Practice, Peer Review, and Discipline of Attorneys, hereby certifies that: (1) I have studied the Local
  Rules of the United States District Court for the Southern District of Florida; (2) I am a member in
  good standing of D.C. Bar and the U.S. District Court for the District of Columbia; and (3) I have not
  filed more than three pro hac vice motions in different cases in this District within the last 365 days.


                                           /s/ Jason C. Greaves
                                           Jason C. Greaves




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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

   DONALD J. TRUMP,

            Plaintiff,

   v.                                                      Case No. 2:22-cv-14102-DMM

   HILLARY R. CLINTON, et al.,

            Defendants.



                       ORDER GRANTING MOTION TO APPEAR
             PRO HAC VICE, CONSENT TO DESIGNATION AND REQUEST TO
             ELECTRONICALLY RECEIVE NOTICES OF ELECTRONIC FILING

           THIS CAUSE having come before the Court on the Motion to Appear Pro Hac Vice for Jason
  C. Greaves, Consent to Designation, and Request to Electronically Receive Notices of Electronic Filing
  (the “Motion”), pursuant to the Rules Governing the Admission, Practice, Peer Review, and Discipline
  of Attorneys in the United States District Court for the Southern District of Florida and Section 2B of
  the CM/ECF Administrative Procedures. This Court having considered the motion and all other
  relevant factors, it is hereby
           ORDERED AND ADJUDGED that:
           The Motion is GRANTED. Jason C. Greaves, may appear and participate in this action on
  behalf of President Donald J. Trump, Alina Habba, Michael T. Madaio, Habba, Madaio, & Associates,
  Peter Ticktin, Jamie Alan Sasson, and The Ticktin Law Group. The Clerk shall provide electronic
  notification of all electronic filings to Jason C. Greaves, at jason@binnall.com.
           DONE AND ORDERED in Chambers at                                                 , Florida, this
  day of                                       .




                                                   United States District Judge


  Copies furnished to: All Counsel of Record

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